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  IT IS ORDERED as set forth below:



   Date: July 25, 2019                   ___________________________

                                                   W. Homer Drake
                                             U.S. Bankruptcy Court Judge
  _______________________________________________________________
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